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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ILLINOIS
                      EASTERN DIVISION

 Jesse Lockett,                          )
                                         )
                   Plaintiff             )
                                         )   No. _______________
                  -vs-                   )
                                         )   (Jury Demand)
 City of Chicago, Ronald Watts,          )
 Phillip Cline, Debra Kirby, Brian       )
 Bolton, Robert Gonzalez, Manuel         )
 Leano, Douglas Nichols Jr., and         )
 Elsworth Smith Jr.,                     )
                                         )
                   Defendants            )
                                COMPLAINT
       Plaintiff, by counsel, alleges as follows:

      1.     This is a civil action arising under 42 U.S.C. § 1983. The

jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1343 and 1367.

       I.   Parties
      2.     Plaintiff Jesse Lockett is a resident of the Northern District of

Illinois.

      3.     Defendant City of Chicago is an Illinois municipal corporation.

      4.     Defendants Ronald Watts, Brian Bolton, Robert Gonzalez,

Manuel Leano, Douglas Nichols Jr., and Elsworth Smith Jr., (the “individual

officer defendants”) were at all relevant times acting under color of their
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offices as Chicago police officers. Plaintiff sues the individual officer

defendants in their individual capacities.

     5.      Defendant    Philip    Cline    was   at   all   relevant   times

Superintendent of the Chicago Police Department. Plaintiff sues Cline in his

individual capacity.

     6.      Defendant Debra Kirby was at all relevant times the Assistant

Deputy Superintendent of the Chicago Police Department, acting as head of

the Chicago Police Department Internal Affairs Division. Plaintiff sues

Kirby in her individual capacity.

      II.   Overview
     7.      Plaintiff Lockett is one of many victims of the criminal

enterprise run by convicted felon and former Chicago Police Sergeant

Ronald Watts and his tactical team at the Ida B. Wells Homes in the 2000’s.

     8.      As of the date of filing, at least fifty individuals who were

framed by the Watts Gang have had their convictions vacated by the Circuit

Court of Cook County.

     9.      Several of these other victims of the Watts Gang are currently

prosecuting federal lawsuits. Pursuant to an order of the Court’s Executive

Committee dated July 12, 2018, these cases have been coordinated for

pretrial proceedings. On March 12, 2019, the coordinated proceedings were




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assigned Master Docket Case No. 19-cv-01717 with the caption In re: Watts

Coordinated Pretrial Proceedings.

     10.      The Executive Committee’s Order states that additional cases,

such as this one, filed with similar claims and the same defendants shall be

part of these coordinated pretrial proceedings.

     11.      The Watts Gang of officers engaged in robbery and extortion,

used excessive force, planted evidence, fabricated evidence, and

manufactured false charges.

     12.      High ranking officials within the Chicago Police Department

were aware of the Watts Gang’s criminal enterprise, but failed to take any

action to stop it.

     13.      The Chicago Police Department’s official policies or customs of

failing to discipline, supervise, and control its officers, as well as its a “code

of silence,” were a proximate cause of the Watts Gang’s criminal enterprise.

     14.      Watts Gang officers arrested Lockett without probable cause,

fabricated evidence against him, and framed him for a gun offense for which

he was wrongfully convicted.

     15.      Lockett brings this lawsuit to secure a remedy for his illegal

conviction, which was caused by: the Watts Gang officers, the failure of high-

ranking officials within the Chicago Police Department to stop the Watts




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Gang, the code of silence within the Chicago Police Department, and the

Chicago Police Department’s defective discipline policy.

     III.   False Arrest and Illegal Prosecution of Plaintiff
     16.     On May 12, 2005, plaintiff was arrested by the individual officer

defendants outside of a building at the Ida B. Wells Homes.

     17.     At the time of plaintiff’s arrest:

             a. None of the individual officer defendants had a warrant

                authorizing the arrest of plaintiff;

             b. None of the individual officer defendants believed that a

                warrant had been issued authorizing the arrest of plaintiff;

             c. None of the individual officer defendants had observed

                plaintiff commit any offense; and

             d. None of the individual officer defendants had received

                information from any source that plaintiff had committed an

                offense.

     18.     After arresting plaintiff, the individual officer defendants

conspired, confederated, and agreed to fabricate a false story in an attempt

to justify the unlawful arrest, to cover up their wrongdoing, and to cause

plaintiff to be wrongfully prosecuted.

     19.     The false story fabricated by the individual officer defendants

included the false claims that plaintiff ran from the officers, that the officers


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observed plaintiff holding a gun while he was running, that the officers

recovered a gun from the ground near plaintiff, and that plaintiff admitted

to carrying a gun.

     20.    The acts of the individual officer defendants in furtherance of

their scheme to frame plaintiff included the following:

            a. One or more of the individual officer defendants prepared

                police reports containing the false story, and each of the

                other individual officer defendants failed to intervene to

                prevent the violation of plaintiff’s rights;

            b. One or more of the individual officer defendants attested to

                the false story through the official police reports, and each

                of the other individual officer defendants failed to intervene

                to prevent the violation of plaintiff’s rights;

            c. Defendant Watts formally approved one or more of the

                official police reports, knowing that the story set out therein

                was false; and

            d. One or more of           the individual     officer defendants

                communicated the false story to prosecutors, and each of the

                other individual officer defendants failed to intervene to

                prevent the violation of plaintiff’s rights.




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     21.      The wrongful acts of the individual officer defendants were

performed with knowledge that the acts would cause plaintiff to be falsely

prosecuted for an offense that had never occurred.

     22.      Plaintiff was charged with a criminal offense because of the

wrongful acts of the individual officer defendants.

     23.      Plaintiff knew that proving that the individual officer

defendants had concocted the charges against him would not be possible.

     24.      Accordingly, even though he was innocent, plaintiff pleaded

guilty to a criminal offense on October 20, 2005, and received a sentence of

probation.

     25.      Plaintiff completed his sentence of probation, which included a

curfew, drug testing, permitting law enforcement enter and search his

home, and regularly traveling to visit his probation officer.

     IV.     Plaintiff’s Exoneration
     26.      On July 24, 2019, the Circuit Court of Cook County granted

plaintiff’s motion to vacate his conviction.

     27.      On October 11, 2019, the Circuit Court of Cook County granted

plaintiff a Certificate of Innocence.




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     V.    Plaintiff’s Arrest and Prosecution Were Part of a Long-
           Running Pattern Known to High Ranking Officials within the
           Chicago Police Department
     28.    Before the Watts Gang engineered plaintiff’s above-described

wrongful arrest, detention, and prosecution, the Chicago Police Department

had received numerous civilian complaints that defendant Watts and the

Watts Gang were engaging in robbery, extortion, the use of excessive force,

planting evidence, fabricating evidence, and manufacturing false charges

against persons at the Ida B. Wells Homes.

     29.    Criminal investigators corroborated these civilian complaints

with information they obtained from multiple cooperating witnesses.

     30.    Before the Watts Gang engineered plaintiff’s above-described

wrongful arrest, detention, and prosecution, defendants Cline and Kirby

knew about the above-described credible allegations of serious wrongdoing

by Watts and the Watts Gang and knew that criminal investigators had

corroborated these allegations.

     31.    Defendants Cline and Kirby also knew, before the Watts Gang

engineered plaintiff’s above-described wrongful arrest, detention, and

prosecution, that, absent intervention by the Chicago Police Department,

Watts and his gang would continue to engage in robbery and extortion, use

excessive force, plant evidence, fabricate evidence, and manufacture false

charges.


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     32.     The Internal Affairs Division of the Chicago Police knew about

the lawlessness of Watts and his gang by 2004.

     33.     Defendants Cline and Kirby had the power and the opportunity

to prevent Watts and his gang from continuing to engage in the above-

described wrongdoing.

     34.     Defendants Cline and Kirby deliberately chose to turn a blind

eye to the pattern of wrongdoing by Watts and his gang.

     35.     As a direct and proximate result of the deliberate indifference

of defendants Cline and Kirby, Watts and his gang continued to engage in

robbery and extortion, use excessive force, plant evidence, fabricate

evidence, and manufacture false charges against persons at the Ida B. Wells

Homes, including but not limited to the wrongful arrest, detention, and

prosecution of plaintiff, as described above.

    VI.    Official Policies and Customs of the Chicago Police
           Department Were the Moving Force behind the Defendants’
           Misconduct
     36.     At all relevant times, the Chicago Police Department

maintained official policies and customs that facilitated and condoned the

Defendants’ misconduct.

             A. Failure to Discipline
     37.     At all relevant times, the Chicago Police Department

maintained a policy or custom of failing to discipline, supervise, and control


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its officers. By maintaining this policy or custom, the City caused its officers

to believe that they could engage in misconduct with impunity because their

actions would never be thoroughly scrutinized.

     38.      Before plaintiff’s arrest, policymakers for the City of Chicago

knew that the Chicago Police Department’s policies or customs for

disciplining, supervising, and controlling its officers were inadequate and

caused police misconduct.

     39.      Despite their knowledge of the City’s failed policies and

customs for disciplining, supervising, and controlling its officers, the

policymakers failed to take action to remedy these problems.

     40.      Before the Watts Gang engineered plaintiff’s above-described

wrongful arrest, detention, and prosecution, the individual officer

defendants had been the subject of numerous formal complaints of official

misconduct.

     41.      As a direct and proximate result of the Chicago Police

Department’s inadequate policies or customs for disciplining, supervising,

and controlling its officers and the policymakers’ failure to address these

problems, Watts and his gang continued to engage in robbery and extortion,

use excessive force, plant evidence, fabricate evidence, and manufacture

false charges against persons at the Ida B. Wells Homes, including but not




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limited to the wrongful arrest, detention, and prosecution of plaintiff, as

described above.

               B. Code of Silence
     42.       At all relevant times, the Chicago Police Department

maintained a “code of silence” that required police officers to remain silent

about police misconduct. An officer who violated the code of silence would

be severely penalized by the Department.

     43.       At all relevant times, police officers were trained at the Chicago

Police Academy not to break the code of silence. Officers were instructed

that “Blue is Blue. You stick together. If something occurs on the street that

you don’t think is proper, you go with the flow. And after that situation, if

you have an issue with that officer or what happened, you can confront them.

If you don’t feel comfortable working with them anymore, you can go to the

watch commander and request a new partner. But you never break the code

of silence.”

     44.       This “code of silence” facilitated, encouraged, and enabled the

individual officer defendants to engage in egregious misconduct for many

years, knowing that their fellow officers would cover for them and help

conceal their widespread wrongdoing.

     45.       Consistent with this “code of silence,” the few people within the

Chicago Police Department who stood up to Watts and his gang or who


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attempted to report their misconduct were either ignored or punished, and

the Watts Gang was thereby able to engage in misconduct with impunity.

     46.    Watts and his gang are not the first Chicago police officers

whom the City of Chicago allowed to abuse citizens with impunity while the

City turned a blind eye.

     47.    One example of this widespread practice is Chicago police

officer Jerome Finnigan, who was convicted and sentenced on federal

criminal charges in 2011. One of the charges against Finnigan involved his

attempt to hire a hitman to kill a police officer whom Finnigan believed

would be a witness against him.

     48.    Finnigan was part of a group of officers in the Defendant City’s

Special Operations Section who carried out robberies, home invasions,

unlawful searches and seizures, and other crimes.

     49.    Finnigan and his crew engaged in their misconduct at around

the same time that plaintiff was subjected to the abuses described above.

     50.    Finnigan, like the defendants in this case, had been the subject

of many formal complaints of misconduct.

     51.    Finnigan revealed at his criminal sentencing hearing in 2011,

“You know, my bosses knew what I was doing out there, and it went on and

on. And this wasn’t the exception to the rule. This was the rule.”




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     52.     Defendants Watts and Mohammed were criminally charged in

federal court in February 2012 after shaking down a federal informant they

believed was a drug dealer.

     53.     Defendant Mohammed pleaded guilty in 2012.

     54.     Defendant Watts pleaded guilty in 2013.

     55.     In the case of Obrycka v. City of Chicago et al., No. 07-cv-2372

(N.D. Ill.), a federal jury found that as of February 2007, “the City [of

Chicago] had a widespread custom and/or practice of failing to investigate

and/or discipline its officers and/or code of silence.”

     56.     In   December      2015,     Chicago   Mayor   Rahm   Emanuel

acknowledged the continued existence of the code of silence within the

Chicago Police Department; Emanuel, speaking in his capacity as Mayor,

admitted that the code of silence leads to a culture where extreme acts of

abuse are tolerated.

     57.     In April 2016, the City’s Police Accountability Task Force

found that the code of silence “is institutionalized and reinforced by CPD

rules and policies that are also baked into the labor agreements between the

various police unions and the City.”




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     58.    In an official government report issued in January 2017, the

United States Department of Justice found that “a code of silence exists,

and officers and community members know it.”

     59.    The same code of silence in place during the time period at issue

in the Obrycka case and recognized by the Mayor, the Task Force, and the

Department of Justice was also in place when plaintiff suffered the wrongful

arrest, detention, and prosecution described above.

     60.    As a direct and proximate result of the City’s code of silence,

Watts and his gang continued to engage in robbery and extortion, use

excessive force, plant evidence, fabricate evidence, and manufacture false

charges against persons at the Ida B. Wells Homes, including but not limited

to the wrongful arrest, detention, and prosecution of plaintiff, as described

above.

    VII.   Claims
     61.    As a result of the foregoing, all of the defendants caused

plaintiff to be deprived of rights secured by the Fourth and Fourteenth

Amendments.

     62.    As a supplemental state law claim against defendant City of

Chicago only: as a result of the foregoing, plaintiff was subjected to a

malicious prosecution under Illinois law.

     63.    Plaintiff hereby demands trial by jury.


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      WHEREFORE plaintiff requests that appropriate compensatory

and punitive damages be awarded against the individual defendants and

that appropriate compensatory damages only be awarded against defendant

City of Chicago, and that the Court award fees and costs against defendants.

                                  /s/ Joel A. Flaxman
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